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17
18                     UNITED STATES DISTRICT COURT
19           CENTRAL DISTRICT OF CALIFORNIA – SOUTHERN DIVISION
20
       MASIMO CORPORATION,                          CASE NO. 8:20-cv-00048-JVS (JDEx)
21     a Delaware corporation; and
       CERCACOR LABORATORIES, INC.,                 JOINT STATEMENT OF CASE
22     a Delaware corporation,
23                        Plaintiffs,               Date Filed: March 30, 2023

24           v.                                     Trial: April 4, 2023
25     APPLE INC.,
       a California corporation,
26
                          Defendant.
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                                                                       JOINT STATEMENT OF CASE
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                                                                  JOINT STATEMENT OF CASE
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1            In this case, Plaintiffs Masimo Corporation and Cercacor Laboratories, Inc. have
2      brought claims against defendant Apple Inc.
3            Masimo and Cercacor claim that Apple improperly obtained, disclosed, and used
4      alleged trade secret information through two of their former employees. Some of the
5      information is technical in nature, and other information relates to business and
6      marketing strategies.
7            Masimo and Cercacor also claim that Apple filed patents on inventions to which
8      Masimo and Cercacor employees contributed, and Masimo and Cercacor contend those
9      employees should be added as named inventors on those patents. Masimo and Cercacor
10     claim that they should be part owners of those Apple patents.
11           Masimo and Cercacor seek monetary damages.
12           Apple denies all of Masimo’s and Cercacor’s claims. Apple contends that the
13     information that Masimo and Cercacor claim are trade secrets are not actually trade
14     secrets. Apple also contends it did not misappropriate Plaintiffs’ alleged trade secrets
15     through Masimo’s or Cercacor’s former employees or through any other means.
16           Apple also contends that Masimo and Cercacor employees should not be added
17     as co-inventors to the disputed patents and neither Masimo nor Cercacor is a joint owner
18     of those patents.
19           Apple also asserts the defense that Masimo and Cercacor did not file this lawsuit
20     within the time permitted by law. Masimo and Cercacor contend that they filed the
21     lawsuit within the time permitted by law.
22           Apple also asserts that Masimo and Cercacor are not entitled to obtain relief
23     because they have unclean hands. Masimo and Cercacor disagree.
24           Apple disputes Masimo’s and Cercacor’s monetary damages theories.
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4                                                     Attorneys for Plaintiffs
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5                                                     CERCACOR LABORATORIES, INC.
6
                                                WILMER CUTLER PICKERING HALE AND DORR,
7                                               LLP
8
        Dated: March 30, 2023                   By: /s/ Mark D. Selwyn
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10                                                    Attorneys for Defendant
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                                  FILER’S ATTESTATION
14
             Pursuant to Local Rule 5-4.3.4 regarding signatures, I hereby attest that
15
       concurrence in the filing of this document has been obtained from all signatories above.
16
        Dated: March 30, 2023          By: /s/ Kendall M. Loebbaka
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                                           Kendall M. Loebbaka
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                                                                      JOINT STATEMENT OF CASE
                                                              CASE NO. 8:20-cv-00048-JVS (JDEX)
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